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11   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
22   KRIKOR J. MESHEFEJIAN (SBN 255030)
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     Los Angeles, California 90067
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     Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
55   Attorneys for Chapter 11 Debtors and Debtors in Possession                 CLERK U.S. BANKRUPTCY COURT
                                                                                Central District of California
66   SAMUEL R. MAIZEL (SBN 189301)                                              BY Ogier      DEPUTY CLERK

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99   Email: samuel.maizel@dentons.com; tania.moyron@dentons.com
     Attorneys for Official Committee of Equity Security Holders
10
10
                                 UNITED STATES BANKRUPTCY COURT
11
11                                CENTRAL DISTRICT OF CALIFORNIA
                                   SAN FERNANDO VALLEY DIVISION
12
12
     In re:                                                  Lead Case No.: 1:17-bk-12408-MB
13
13                                                           Jointly administered with:
     ICPW Liquidation Corporation, a California              1:17-bk-12409-MB
14
14   corporation1,                                           Chapter 11 Cases
15
15            Debtor and Debtor in Possession.               STIPULATED ORDER AUTHORIZING
16   ____________________________________                    LIMITED PAYMENTS FROM TRUST
16
     In re:                                                  ACCOUNT     RELATING    TO  THE
17
17                                                           DEBTORS’ AND OFFICIAL COMMITTEE
     ICPW Liquidation Corporation, a Nevada                  OF EQUITY SECURITY HOLDERS’
18
18   corporation2,                                           JOINT PLAN OF LIQUIDATION

19
19            Debtor and Debtor in Possession.               Plan Confirmation Hearing:
     ____________________________________                    Date:    February 12, 2018
20
20                                                           Time:    1:30 p.m.
          Affects both Debtors                               Place:   Courtroom “303”
21
21                                                                    21041 Burbank Blvd.
       Affects ICPW Liquidation Corporation, a                        Woodland Hills, CA
22
22   California corporation only
23
23      Affects ICPW Liquidation Corporation, a Nevada
     corporation only
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27       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
     2
         Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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                                                         1
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1            Subject to the approval of the Court, ICPW Liquidation Corporation, a California
2     corporation, formerly known as Ironclad Performance Wear Corporation, a California corporation
3
      (“ICPW California”), and ICPW Liquidation Corporation, a Nevada corporation, formerly known
4
      as Ironclad Performance Wear Corporation, a Nevada corporation (“ICPW Nevada” and
5
      collectively with ICPW California, the “Debtors”) and the Official Committee of Equity Security
6

7     Holders (the “OCEH”) hereby enter into this Stipulation as follows:

8            1.     The Debtors and the OCEH are parties to a Joint Plan of Liquidation (the “Plan”)

9                   that they intend to file with the Court on January 12, 2018.
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10           2.     On January 10, 2018, the Court entered its order as Case Dkt. 373 that, among
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                    other things, ordered the Debtors to serve a copy of the “Notice of Hearing on
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                    Confirmation of Debtors’ and Official Committee of Equity Security Holders’
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                    Joint Plan of Liquidation and Summary of Joint Plan” filed as Case Dkt. 371 upon
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15                  all known creditors and upon all known shareholders.

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16           3.     The Debtors and the OCEH desire to pay for the photocopying and postage

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17                  associated with this mailing out of the funds in the Trust Account. Pursuant to a
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                    prior order of the Court, no funds shall be spent from the Trust Account without a
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                    prior order of the Court. The Debtors and the OCEH therefore request the Court to
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                    enter this Order authorizing the payment of the costs of such photocopying and
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21
                    postage to be paid from the Trust Account.
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22

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23           4.     The Debtors and the OCEH also wish to establish a website for creditors and

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24                  shareholders to be paid to access a copy of the Joint Plan of Liquidation and to pay
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25                  for the costs of establishing such website out of the funds in the Trust Account.
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1            The Court, having considered such request from the Debtors and the OCEH, here by
2     authorizes payment of such expenses out of the funds in the Trust Account.
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          Date: January 12, 2018
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1     Agreed:
2     LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
3

4
      By:
5           RON BENDER
6           MONICA Y. KIM
            KRIKOR J. MESHEFEJIAN
7           Attorneys for Chapter 11 Debtors and Plan Proponents

8
      Agreed:
9

10
10    DENTONS US LLP

11
11    By:
            SAMUEL R. MAIZEL
12
12          TANIA MOYRON
13
13          Attorneys for Official Committee of Equity Security Holders

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